


  Mr Chief Justice Marshall
 

  delivered the opinion of the Court, dismissing the appeal with costs; because the appeal was granted before there was a final decree in the case.
 

  On appeal from the circuit court of the United States for the district of Columbia, holden in and for the county of Alexandria. On consideration of the motion made in this cause yesterday, by Mr Edmund J. Lee of counsel for the appellees to dismiss this cause, because the appeal was granted before there was a final decree rendered in the court below, and of the arguments of counsel thereupon, had as well for the appellant as for the appellees: it is now here ordered, adjudged and .decreed by this court, that this appeal be and the same is hereby dismissed with costs.
 
